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_ JUDDE REINHARD
i Sy SEES
iT. D MAGISTRATE JUDGE JOKNSTOX

 

 

1324(a)(1)(B)@); 1324(a)(1)(A)Gii) and
1324(a)(1)(B)@)

COUNT ONE

APR 16 2079 UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
THOMAS GBRUTON — WESTERN DIVISION
CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA ) Ho ‘OR 50026
) No.
vs. ) Violations: Title 8, United States
) Code, Sections 1824(a)(2)(B)(ii) and
) ii); 1824(a)(1)(A)@ and
LUIS ALFREDO DELACRUZ )  1824(a)(1)(B)(G); 1824(a)(1)(A){ii) and
)
)

The MAY 2018 GRAND JURY charges:

On or about April 3, 2016, in the Northern District of Illinois, Western Division
and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, knowing and in reckless disregard of the fact that an alien, namely,
Individual A, had not received prior official authorization to come to, enter and reside
in the United States, did bring to the United States said alien, for the purpose of
commercial advantage and private financial gain, and did not upon arrival
immediately bring and present said alien to an appropriate immigration officer at a
designated port of entry;

in violation of Title 8, United States Code, Section 1324(a)(2)(B)(ii) and Gii) and

Title 18, United States Code, Section 2.
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COUNT TWO

The MAY 2018 GRAND JURY further charges:

On or about November 1, 2015, in the Northern District of Illinois, Western
Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, knowing and in reckless disregard of the fact that an alien,
namely, Individual B, had not received prior official authorization to come to, enter
and reside in the United States, did bring to the United States said alien, for the
purpose of commercial advantage and private financial gain, and did not upon arrival
immediately bring and present said alien to an appropriate immigration officer at a
designated port of entry;

in violation of Title 8, United States Code, Section 1324(a)(2)(B) (Gi) and Gili) and

Title 18, United States Code, Section 2.
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COUNT THREE

The MAY 2018 GRAND JURY further charges:

On or about April 3, 2016, in the Northern District of Illinois, Western Division
and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly bring to the United States an alien, namely
Individual A, knowing that said person was an alien, at a place other than as
designated by the Secretary of Homeland Security;

in violation of Title 8, United States Code, Section 1824(a)(1)(A){i) and (v)ID

and 1324(a)(1)(B)@.
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COUNT FOUR

The MAY 2018 GRAND JURY further charges:

On or about November 1, 2015, in the Northern District of Illinois, Western
Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly bring to the United States an alien, namely
Individual B, knowing that said person was an alien, at a place other than as
designated by the Secretary of Homeland Security;

in violation of Title 8, United States Code, Section 1324(a)(1)(A)@@) and (v)dD

and 1324(a)(1)(B)().
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COUNT FIVE

The MAY 2018 GRAND JURY further charges:

On or about April 3, 2016, in the Northern District of Illinois, Western Division
and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that a certain -
alien, Individual A, had come to, entered and remained in the United States in
violation of law, did transport and move said alien within the United States by means
of transportation and otherwise in furtherance of such violation of law, for the
purpose of commercial advantage and private financial gain;

in violation of Title 8, United States Code, Section 1324(a)(1)(A)Gi) and

1324(a)(1)(B)@).
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COUNT SIX

The MAY 2018 GRAND JURY further charges:

On or about November 1, 2015, in the Northern District of Illinois, Western
Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that a certain
alien, Individual B, had come to, entered and remained in the United States in
violation of law, did transport and move said alien within the United States by means
of transportation and otherwise in furtherance of such violation of law, for the
purpose of commercial advantage and private financial gain;

in violation of Title 8, United States Code, Section 1324(a)(1)(A)@) and

1324(a)(1)(B)Q).
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COUNT SEVEN

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
B had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual B from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)@ii) and

1324(a)(1)(B)@).
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COUNT EIGHT

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
C had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual C from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iii) and

1324(a)(1)(B)@).
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COUNT NINE

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
D had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual D from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain; |

In violation of Title 8, United States Code, Sections 13824(a)(1)(A)Gii) and

1324(a)(1)(B)().
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COUNT TEN

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
E had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual E from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(@ii) and

1324(a)(1)(B)().

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COUNT ELEVEN

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
F had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual F from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1824(a)(1)(A)(Giii) and

1324(a)(1)@)Q).

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COUNT TWELVE

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
G had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield Individual G from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)Q@ui) and

1324(a)(1)(B)@).

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COUNT THIRTEEN

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUGZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
H had come to, entered, and remained in the United States in violation of law, did _
conceal, harbor, and shield Individual H from detection in buildings and other places
and through employment by Alfredo’s Iron Works, for the purpose of commercial
advantage and private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(@i) and

1324(a)(1)(B)Q@).

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COUNT FOURTEEN

The MAY 2018 GRAND JURY further charges:

On or about June 1, 2018, in Cortland, in the Northern District of Illinois,
Western Division and elsewhere,

LUIS ALFREDO DELACRUZ,

defendant herein, did knowingly and in reckless disregard of the fact that Individual
I had come to, entered, and remained in the United States in violation of law, did
conceal, harbor, and shield I from detection in buildings and other places and through
employment by Alfredo’s Iron Works, for the purpose of commercial advantage and
private financial gain;

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(Gu1) and
1324(a)(1)(B)(@).

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FORKPERSON

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UNITED STATES ATTORNEY

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